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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND
                             (NORTHERN DIVISION)

DAVID J. BOSHEA
                                                   *
       Plaintiff,
                                                   *      Civil No.: 1:21-cv-00309-ELH
v.
                                                   *
COMPASS MARKETING, INC.
                                                   *
       Defendant.
                                                   *

*      *        *      *      *      *      *      *      *      *      *      *      *

                    DISCLOSURE OF CORPORATE AFFILIATIONS
                           AND FINANCIAL INTEREST

       Pursuant to FED. R. CIV. P. 7.1 and Local Rule 103.3, Defendant Compass

 Marketing, Inc., by and through its undersigned counsel, hereby provides the following

 information:

       1.       No parent entity exists for the named Defendant.

       2.       Tagnetics, Inc., is an affiliate of Compass Marketing, Inc., under the laws of

certain states. To this end, Compass Marketing owns at least 10% of the shares and options

of Tagnetics, Inc.

       3.       No other corporation, unincorporated association, partnership, or other

business entity not a party to the case has any financial interest in the outcome of the

litigation.




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Dated: June 2, 2021                 Respectfully submitted,

                                              /s/ Stephen B. Stern
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                                    Heather K. Yeung, Bar No.: 20050
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                                    Counsel for Defendant
                                    Compass Marketing, Inc.



                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 2nd day of June, 2021, I served via the CM/ECF

e-filing system the above filing on all counsel of record entitled to service.



                                              /s/ Stephen B. Stern
                                    Stephen B. Stern, Bar No.: 25335




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